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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GLITCH PRODUCTIONS PTY LTD,

                        Plaintiff,
       v.                                               Case No. 24-cv-05748

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

                        Defendants.


                                          COMPLAINT

       Plaintiff Glitch Productions Pty Ltd (“Glitch” or “Plaintiff”) hereby brings the present

action against the Partnerships and Unincorporated Associations Identified on Schedule A attached

hereto (collectively, “Defendants”) and alleges as follows:

                             I.       JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over Glitch’s claims pursuant to

the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., the Copyright Act 17 U.S.C. § 501,

et seq., 28 U.S.C. § 1338(a)-(b) and 28 U.S.C. § 1331.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

exercise personal jurisdiction over Defendants because Defendants structure their business

activities to target consumers in the United States, including Illinois, through at least the fully

interactive e-commerce stores operating under the aliases identified on Schedule A attached hereto

(the “Seller Aliases”). Specifically, Defendants have targeted sales to Illinois residents by setting

up and operating e-commerce stores that target United States consumers; offer shipping to the

United States, including Illinois; accept payment in U.S. dollars; and, on information and belief,




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sell products using infringing and counterfeit versions of Glitch’s federally registered trademarks

and/or unauthorized copies of Glitch’s federally registered copyrighted works (collectively, the

“Unauthorized Products”) to residents of Illinois. Each of the Defendants is committing tortious

acts in Illinois, is engaging in interstate commerce, and has wrongfully caused Glitch substantial

injury in the state of Illinois.

                                    II.     INTRODUCTION

        3.      Glitch filed this case to prevent e-commerce store operators who trade upon

Glitch’s reputation and goodwill from further selling and/or offering for sale Unauthorized

Products. Defendants create e-commerce stores under one or more Seller Aliases and then

advertise, offer for sale, and/or sell Unauthorized Products to unknowing consumers. E-commerce

stores operating under the Seller Aliases share identifiers, such as design elements and similarities

of the Unauthorized Products offered for sale, establishing that a logical relationship exists

between them, and that Defendants’ infringing operation arises out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants take advantage of a set of

circumstances, including the anonymity and mass reach afforded by the Internet and the cover

afforded by international borders, to violate Glitch’s intellectual property rights with impunity.

Defendants attempt to avoid liability by operating under one or more Seller Aliases to conceal

their identities, locations, and the full scope and interworking of their operation. Glitch is forced

to file this action to combat Defendants’ counterfeiting of its registered trademarks and

infringement of its registered copyrighted works, as well as to protect consumers from purchasing

Unauthorized Products over the Internet. Glitch has been, and continues to be, irreparably damaged

through consumer confusion and dilution of its valuable trademarks and infringement of its




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copyrighted works because of Defendants’ actions and therefore seeks injunctive and monetary

relief.

                                       III.    THE PARTIES

           4.    Plaintiff, Glitch Productions Pty Ltd, was formed in 2017 and is an Australian web

animation studio and entertainment production and distribution company specializing in the

development, production, and distribution of entertainment content. Plaintiff has its principal

place of business in Australia.

           5.     Plaintiff is an indie animation studio that does it all, from pre-production to post

production, marketing to management. Plaintiff is known for sharing fun and whimsical stories

that primarily appeal to teenagers and young adults. While lighthearted, these stories also respect

the audience’s ability to appreciate mature plots and complex themes. Plaintiff is also largely

recognized for its dedication to creating these stories through 3D animation, an art style not

typically associated with traditional animation. By its unique animation style and its approach to

storytelling, Plaintiff has amassed over 8.5 million subscribers to its YouTube channel. Plaintiff’s

roster of properties includes famous web series such as Murder Drones, Meta Runner, Sunset

Paradise, SMG4, and the subject of this action, The Amazing Digital Circus.

           6.    The Amazing Digital Circus, created by Gooseworx, follows a cast of amnesiac

humans that are trapped in digital, toy-like, avatar bodies which inhabit a digital circus. Caine, the

supposed ringmaster of the digital world, thinks of random tasks, which seem menial on the surface

but end up being life-threatening in the end, for the characters to do. These tasks are designed to

stimulate the casts’ minds to distract them from the fact that they are forever trapped inside the

digital world. Pomni, the newest addition to the cast, struggles between finding a way to escape




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and helping her fellow prisoners, who have already given up on the notion, in these dangerous

tasks.

          7.    The Amazing Digital Circus is one of Glitch’s most popular shows. The pilot

episode released on YouTube on October 13, 2023, which has since been watched over 330 million

times. Some of the characters and character names made famous by The Amazing Digital Circus

include, but are not limited to: 1




                           Caine




1
 The characters contained within the table are not an exhaustive list of the characters embodied in Glitch’s
copyrighted works. This table is included only to provide examples of the characters found on the infringing
products offered for sale or sold by Defendants. Regardless of any changes in their design, each of these
characters, among others contained within Glitch’s copyrighted works, have always maintained their
distinctive qualities and unique elements of expression.


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               Gangle




                Jax




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               Kinger




               Pomni




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              Ragatha




               Zooble




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       8.     Since the release of the pilot, The Amazing Digital Circus has amassed a large and

dedicated fan base that aims to unravel the mysteries created by the pilot episode. Following the

runaway success of the pilot episode, Gooseworx released a second episode in Spring of 2024 that

has generated over 100 million views.

       9.     Before Defendants’ acts described herein, Glitch launched The Amazing Digital

Circus and its related line of products bearing its famous THE AMAZING DIGITAL CIRCUS

and ANIMATEZ marks. Glitch has also registered a multitude of works related to The Amazing

Digital Circus series and the characters embodied therein with the United States Copyright Office

(the “Glitch Copyrighted Works”). The registrations include but are not limited to: “The Amazing

Digital Circus.” (U.S. Copyright Registration No. VA0002383723), “Caine.” (U.S. Copyright

Registration No. VA0002383491), “Jax.” (US Copyright Registration No. VA0002383501), and

“Pomni.” (U.S. Copyright Registration No. VA0002383722), all issued by the Registrar of

Copyrights on November 29, 2023.

       10.    The Glitch Copyrighted Works are registered with the United States Copyright

Office. True and correct copies of the records from the U.S. Copyright Office website for the

Glitch Copyrighted Works are attached hereto as Exhibit 1. The Glitch Copyrighted Works

embody the distinctive characters found in paragraph 7 above.

       11.    Among the exclusive rights granted to Glitch under the U.S. Copyright Act are the

exclusive rights to reproduce, prepare derivative works of, distribute copies of, and display the

Glitch Copyrighted Works to the public. Since first publication, the Glitch Copyrighted Works

have been used on Glitch’s products and are featured on Glitch’s official website,

www.glitchproductions.store.




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         12.   Glitch markets and sells a variety of products, including plushies, posters, clothing,

figurines, keychains, pins, vinyl records, and stickers (collectively, “Glitch Products”).

         13.   Glitch Products have become enormously popular and even iconic, driven by

Glitch’s quality standards and innovative designs. Among the purchasing public, Glitch Products

are instantly recognizable as such. The Amazing Digital Circus brand has become a global success

and Glitch Products are among the most recognizable in the world. Glitch Products are distributed

and sold to consumers through Plaintiff’s official website, www.glitchproductions.store.

         14.     Glitch has continuously used the THE AMAZING DIGITAL CIRCUS and

ANIMATEZ trademarks, and other trademarks, and has continuously sold products under its

trademarks (collectively, the “Glitch Trademarks”). As a result of this continuous use as well as

the fame and popularity of The Amazing Digital Circus, strong common law trademark rights have

amassed in the Glitch Trademarks. Glitch’s use of the marks has also built substantial goodwill in

the Glitch Trademarks. The Glitch Trademarks are famous marks and valuable assets of Glitch.

Glitch Products typically include at least one of the Glitch Trademarks and/or Glitch Copyrighted

Works.

         15.   The Glitch Trademarks are registered with the United States Patent and Trademark

Office, a non-exclusive list of which is included below.

  Registration                                        Registration
   Number                  Trademark                     Date               Goods and Services
                                                                      For: Clothing, namely, tops, knit
                                                                      shirts, polo shirts, jumpers in the
                                                                      nature of sweaters, T-shirts, sweat
                                                                      shirts, blouses, blazers, sweaters,
                     THE AMAZING DIGITAL                              jackets, vests, coats, ponchos,
     7,324,648                                        Mar. 12, 2024
                           CIRCUS                                     dresses, skirts, trousers, pants,
                                                                      overalls, jeans, denims in the
                                                                      nature of pants, shorts, camisoles,
                                                                      lingerie, sleepwear, underwear,
                                                                      swim wear, gloves, ties, scarves,


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                                                     headscarves, shawls, Clothing
                                                     belts of textile, socks, hosiery;
                                                     footwear; headwear in class 025.

                                                     For: Action figure toys; Toy
                                                     accessories, namely, costumes for
                                                     toys; electronic multiple activity
                                                     toys; modeled plastic figurines
                                                     being toys; toys, namely, scale
                                                     model plastic figures; toy models;
                                                     plush stuffed toys; plush toys;
                                                     apparatus for electronic games
                                                     adapted for use with an external
                                                     display screen or monitor; card
                                                     games; dice games; arcade games;
                                                     electronic games for the teaching
                                                     of children; party games; portable
                                                     gaming devices, namely, portable
                                                     games with liquid crystal displays;
                                                     trading cards for games; dolls;
                                                     plush dolls in class 028.

                                                     For:     Arranging     of     social
                                                     entertainment                events;
                                                     entertainment services in the
                                                     nature of an ongoing animation
                                                     series; fan club services; live
                                                     entertainment associated with an
                                                     animation series, namely cosplay
                                                     entertainment events, live music
                                                     concerts, live visual and audio
                                                     performances        by       actors;
                                                     organization        of        social
                                                     entertainment events; providing
                                                     information, including online,
                                                     about entertainment activities;
                                                     provision      of    entertainment
                                                     services in the nature of an
                                                     animation series via an online
                                                     forum;     provision     of    non-
                                                     downloadable audio and video
                                                     entertainment      featuring     an
                                                     animation series via electronic or
                                                     digital transmission; television
                                                     entertainment, namely, an ongoing
                                                     television programs in the field of
                                                     variety;    video    entertainment


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                                                                     services, namely, an animation
                                                                     series;      live     entertainment
                                                                     production services in the nature of
                                                                     production of live events for
                                                                     parties and special events for
                                                                     social entertainment purposes;
                                                                     production of audio entertainment,
                                                                     namely,        audio      recording;
                                                                     multimedia entertainment services
                                                                     in the nature of development,
                                                                     production and post-production
                                                                     services in the fields of video and
                                                                     films     production      of     live
                                                                     entertainment; production of
                                                                     animated cartoons; production of
                                                                     audio and/or video recordings,
                                                                     other than advertising; production
                                                                     of      webcasts,     other     than
                                                                     advertising; providing online
                                                                     electronic      publications,     not
                                                                     downloadable in the nature of
                                                                     magazines in the field of
                                                                     entertainment; On-line journals,
                                                                     namely,         blogs      featuring
                                                                     entertainment      news;      Online
                                                                     publication of journals; screenplay
                                                                     writing in class 041.
                                                                     For: Action figures; scale model
                                                                     kits featuring modeled plastic toy
                                                                     figures; scale toy figure model
     7,324,485              ANIMATEZ                 Mar. 12, 2024   kits; modeled plastic figurines
                                                                     being toys; toy figures; toy
                                                                     models; plush toys; dolls in class
                                                                     028.

       16.     The U.S. registrations for the Glitch Trademarks are valid, subsisting, and in full

force and effect. The registrations for the Glitch Trademarks constitute prima facie evidence of

their validity and of Glitch’s exclusive right to use the Glitch Trademarks pursuant to 15 U.S.C. §

1057(b). True and correct copies of the federal trademark registration certificates for the Glitch

Trademarks are attached hereto as Exhibit 2.




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       17.      The Glitch Trademarks are exclusive to Glitch and are displayed extensively on

Glitch Products and in marketing and promotional materials. The Glitch Trademarks are also

distinctive when applied to Glitch Products, signifying to the purchaser that the products come

from Glitch and are manufactured to Glitch’s quality standards. Whether Glitch manufactures the

products itself or contracts with others to do so, Glitch has ensured that its products bearing the

Glitch Trademarks are manufactured to the highest quality standards.

       18.      The Glitch Trademarks are famous marks, as that term is used in 15 U.S.C. §

1125(c)(1) and have been continuously used and never abandoned. The innovative marketing and

product designs of Glitch Products have enabled The Amazing Digital Circus brand to achieve

widespread recognition and fame and have made the Glitch Trademarks some of the most well-

known marks in the entertainment industry. The widespread fame, outstanding reputation, and

significant goodwill associated with The Amazing Digital Circus brand have made the Glitch

Trademarks valuable assets of Glitch.

       19.      The Glitch Trademarks have been the subject of substantial and continuous

marketing and promotion by Glitch. Glitch has and continues to market and promote the Glitch

Trademarks in the industry and to consumers through the official Glitch website

www.glitchproductions.store.

       20.      Glitch has expended substantial time, money, and other resources in advertising

and promoting the Glitch Trademarks. Specifically, Glitch has expended substantial resources in

advertising, promoting, and marketing featuring the Glitch Trademarks. Glitch Products have also

been the subject of extensive unsolicited publicity resulting from their high-quality, innovative

designs.     As a result, products bearing the Glitch Trademarks are widely recognized and

exclusively associated by consumers as being high-quality products sourced from Glitch. Glitch




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Products have become among the most popular of their kind in the world. The Glitch Trademarks

have achieved tremendous fame and recognition, adding to the inherent distinctiveness of the

marks. As such, the goodwill associated with the Glitch Trademarks is of immeasurable value to

Glitch.

          21.   Glitch Products are sold only through authorized retail channels and are recognized

by the public as being exclusively associated with The Amazing Digital Circus brand.

          22.   Defendants are unknown individuals and business entities who own and/or operate

one or more of the e-commerce stores under the Seller Aliases identified on Schedule A and/or

other seller aliases not yet known to Glitch. On information and belief, Defendants reside and/or

operate in foreign jurisdictions and redistribute products from the same or similar sources in those

locations. Defendants have the capacity to be sued pursuant to Federal Rules of Civil Procedure

17(b).

          23.   On information and belief, Defendants, either individually or jointly, operate one

or more e-commerce stores under the Seller Aliases listed in Schedule A attached hereto. Tactics

used by Defendants to conceal their identities and the full scope of their operation make it virtually

impossible for Plaintiff to learn Defendants’ true identities and the exact interworking of their

network. If Defendants provide additional credible information regarding their identities, Plaintiff

will take appropriate steps to amend the Complaint.

                      IV.     DEFENDANTS’ UNLAWFUL CONDUCT

          24.   The success of The Amazing Digital Circus brand has resulted in significant

counterfeiting of the Glitch Trademarks and infringement of the Glitch Copyrighted Works.

Because of this, Glitch has implemented a brand protection program by investigating suspicious

websites and online marketplace listings identified in proactive Internet sweeps. Recently, Glitch




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has identified many fully interactive e-commerce stores offering Unauthorized Products on online

marketplace platforms like Alibaba Group Holding Ltd. (“Alibaba”), Amazon.com, Inc.

(“Amazon”), DHGate.com (“DHGate”), Focus Technology Co., Ltd. (“MadeInChina”), WhaleCo,

Inc. (“Temu”), and Walmart, Inc. (“Walmart”), including the e-commerce stores operating under

the Seller Aliases. The Seller Aliases target consumers in this Judicial District and throughout the

United States. According to a report prepared for The Buy Safe America Coalition, most

infringing products now come through international mail and express courier services because of

increased sales from foreign online infringers. The Counterfeit Silk Road: Impact of Counterfeit

Consumer Products Smuggled Into the United States, prepared by John Dunham & Associates

(Exhibit 3).

        25.    Because the infringing products sold by offshore online infringers do not enter

normal retail distribution channels, the US economy lost an estimated 300,000 or more full-time

jobs in the wholesale and retail sectors alone in 2020. Id. When accounting for lost jobs from

suppliers that would serve these retail and wholesale establishments, and the lost jobs that would

have been induced by employees re-spending their wages in the economy, the total economic

impact resulting from the sale of infringing products was estimated to cost the United States

economy over 650,000 full-time jobs that would have paid over $33.6 billion in wages and

benefits. Id. Additionally, it is estimated that the importation of infringing goods cost the United

States government nearly $7.2 billion in personal and business tax revenues in the same period.

Id.

        26.    Furthermore, online marketplace platforms like those used by Defendants do not

adequately subject new sellers to verification and confirmation of their identities, allowing

infringers to “routinely use false or inaccurate names and addresses when registering with these e-




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commerce platforms.” Exhibit 4, Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the

Age of the Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also report on “Combating

Trafficking in Counterfeit and Pirated Goods” prepared by the U.S. Department of Homeland

Security’s Office of Strategy, Policy, and Plans (Jan. 24, 2020), attached as Exhibit 5, and finding

that on “at least some e-commerce platforms, little identifying information is necessary for a

counterfeiter to begin selling” and that “[t]he ability to rapidly proliferate third-party online

marketplaces greatly complicates enforcement efforts, especially for intellectual property rights

holders.” Infringers hedge against the risk of being caught and having their websites taken down

from an e-commerce platform by establishing multiple virtual storefronts. Exhibit 5 at p. 22.

Since platforms generally do not require a seller on a third-party marketplace to identify the

underlying business entity, infringers can have many different profiles that can appear unrelated

even though they are commonly owned and operated. Exhibit 5 at p. 39. Further, “[e]-commerce

platforms create bureaucratic or technical hurdles in helping brand owners to locate or identify

sources of [infringing products] and [infringers].” Exhibit 4 at 186-187. Specifically, brand

owners are forced to “suffer through a long and convoluted notice and takedown procedure only

[for the infringer] to reappear under a new false name and address in short order.” Id. at p. 161.

       27.     Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more Seller Aliases; offer

shipping to the United States, including Illinois; accept payment in U.S. dollars; and, on

information and belief, sell Unauthorized Products to residents of Illinois.

       28.     Defendants concurrently employ and benefit from similar advertising and

marketing strategies. For example, Defendants facilitate sales by designing the e-commerce stores

operating under the Seller Aliases so that they appear to unknowing consumers to be authorized




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online retailers, outlet stores, or wholesalers. E-commerce stores operating under the Seller Aliases

appear sophisticated and accept payment in U.S. dollars via numerous methods, including credit

cards, Alipay, Amazon Pay, and/or PayPal. E-commerce stores operating under the Seller Aliases

often include content and images that make it very difficult for consumers to distinguish such

stores from an authorized retailer. Glitch has not licensed or authorized Defendants to use any of

the Glitch Trademarks and/or to copy or distribute the Glitch Copyrighted Works, and none of the

Defendants are authorized retailers of Glitch Products.

       29.     Many Defendants also deceive unknowing consumers by using the Glitch

Trademarks without authorization within the content, text, and/or meta tags of their e-commerce

stores to attract consumers using search engines to find websites relevant to Glitch Products. Other

e-commerce stores operating under the Seller Aliases omit using the Glitch Trademarks in the item

title to evade enforcement efforts while using strategic item titles and descriptions that will trigger

their listings when consumers are searching for Glitch Products.

       30.     E-commerce store operators like Defendants commonly engage in fraudulent

conduct when registering the Seller Aliases by providing false, misleading and/or incomplete

information to e-commerce platforms to prevent discovery of their true identities and the scope of

their e-commerce operation.

       31.     E-commerce store operators like Defendants regularly register or acquire new seller

aliases for the purpose of offering for sale and selling Unauthorized Products. Such seller alias

registration patterns are one of many common tactics used by e-commerce store operators like

Defendants to conceal their identities and the full scope and interworking of their operation, and

to avoid being shut down.




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       32.     Even though Defendants operate under multiple fictitious aliases, the e-commerce

stores operating under the Seller Aliases often share identifiers, such as templates with common

design elements that intentionally omit any contact information or other information for

identifying Defendants or other Seller Aliases they operate or use. E-commerce stores operating

under the Seller Aliases include other notable common features such as use of the same registration

patterns, accepted payment methods, check-out methods, keywords, advertising tactics,

similarities in price and quantities, the same incorrect grammar and misspellings, and/or the use of

the same text and images. Additionally, Unauthorized Products for sale by the Seller Aliases bear

similar irregularities and indicia of being unauthorized to one another, suggesting that the

Unauthorized Products were manufactured by and come from a common source and that

Defendants are interrelated.

       33.     E-commerce store operators like Defendants communicate with each other through

QQ.com chat rooms and utilize websites, like sellerdefense.cn, that provide tactics for operating

multiple online marketplace accounts and evading detection by brand owners. Websites like

sellerdefense.cn also tip off e-commerce store operators like Defendants of new intellectual

property infringement lawsuits filed by brand owners, such as Glitch, and recommend that e-

commerce operators cease their infringing activity, liquidate their associated financial accounts,

and change the payment processors that they currently use to accept payments in their online stores.

       34.     Infringers, such as Defendants, typically operate under multiple seller aliases and

payment accounts so that they can continue operation despite Glitch’s enforcement. E-commerce

store operators like Defendants maintain off-shore bank accounts and regularly move funds from

their financial accounts to off-shore accounts outside the jurisdiction of this Court to avoid

payment of any monetary judgment awarded to Glitch.




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        35.     Defendants are working in active concert to knowingly and willfully manufacture,

import, distribute, offer for sale, and sell Unauthorized Products in the same transaction,

occurrence, or series of transactions or occurrences. Defendants, without any authorization or

license from Glitch, have jointly and severally, knowingly, and willfully used and continue to use

the Glitch Trademarks and/or copies of the Glitch Copyrighted Works in connection with the

advertisement, distribution, offering for sale, and sale of Unauthorized Products into the United

States and Illinois over the Internet.

        36.     Defendants’ unauthorized use of the Glitch Trademarks and/or Glitch Copyrighted

Works in connection with the advertising, distribution, offering for sale, and sale of Unauthorized

Products, including the sale of Unauthorized Products into the United States, including Illinois, is

likely to cause, and has caused, confusion, mistake, and deception by and among consumers and

is irreparably harming Glitch.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

        37.     Glitch hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

        38.     This is a trademark infringement action against certain Defendants 2 based on their

unauthorized use in commerce of counterfeit imitations of the Glitch Trademarks in connection

with the sale, offering for sale, distribution, and/or advertising of infringing goods. The Glitch

Trademarks are highly distinctive marks. Consumers have come to expect the highest quality from

Glitch Products offered, sold, or marketed under the Glitch Trademarks.




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 Count I applies to all Defendants who infringed the Glitch Trademarks, as outlined in Schedule A attached
hereto.


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       39.     Certain Defendants have sold, offered to sell, marketed, distributed, and advertised,

and are still selling, offering to sell, marketing, distributing, and advertising products using

counterfeit reproductions of the Glitch Trademarks without Glitch’s permission.

       40.     Glitch owns the Glitch Trademarks. Glitch’s United States registrations for the

Glitch Trademarks are in full force and effect. Upon information and belief, certain Defendants

have knowledge of Glitch’s rights in the Glitch Trademarks and are willfully infringing and

intentionally using infringing and counterfeit versions of the Glitch Trademarks. Those

Defendants’ willful, intentional, and unauthorized use of the Glitch Trademarks is likely to cause,

and is causing, confusion, mistake, and deception as to the origin and quality of the Unauthorized

Products among the general public.

       41.     Certain Defendants’ activities constitute willful trademark infringement and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       42.     Glitch has no adequate remedy at law, and if certain Defendants’ actions are not

enjoined, Glitch will continue to suffer irreparable harm to its reputation and the goodwill of the

Glitch Trademarks.

       43.     The injuries and damages sustained by Glitch have been directly and proximately

caused by certain Defendants’ wrongful reproduction, use of advertisement, promotion, offering

to sell, and/or sale of Unauthorized Products.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       44.     Glitch hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.




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        45.     Certain Defendants’ 3 promotion, marketing, offering for sale, and sale of

Unauthorized Products has created and is creating a likelihood of confusion, mistake, and

deception among the general public as to the affiliation, connection, or association with Glitch or

the origin, sponsorship, or approval of the Unauthorized Products by Glitch.

        46.     By using the Glitch Trademarks in connection with the offering for sale and/or sale

of Unauthorized Products, certain Defendants create a false designation of origin and a misleading

representation of fact as to the origin and sponsorship of the Unauthorized Products.

        47.     Certain Defendants’ false designation of origin and misrepresentation of fact as to

the origin and/or sponsorship of the Unauthorized Products to the general public involves the use

of counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

        48.     Glitch has no remedy at law and will continue to suffer irreparable harm to its

reputation and the associated goodwill of The Amazing Digital Circus brand if certain Defendants’

actions are not enjoined.

                               COUNT III
           COPYRIGHT INFRINGEMENT OF UNITED STATES COPYRIGHT
                   REGISTRATIONS (17 U.S.C. §§ 106 and 501)

        49.     Glitch hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

        50.     The Glitch Copyrighted Works constitute original works and copyrightable subject

matter pursuant to the Copyright Act, 17 U.S.C. § 101, et seq.

        51.     Glitch owns the Glitch Copyrighted Works.              Glitch has complied with the

registration requirements of 17 U.S.C. § 411(a) for the Glitch Copyrighted Works. The Glitch

Copyrighted Works are protected by copyright registration numbers which were duly issued to


3
 Count II applies to all Defendants who infringed the Glitch Trademarks, as outlined in Schedule A attached
hereto.


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Glitch by the United States Copyright Office. At all relevant times, Glitch has been, and still is,

the owner of all rights, title, and interest in the Glitch Copyrighted Works, which have never been

assigned, licensed, or otherwise transferred to Defendants.

        52.     The Glitch Copyrighted Works are published on the internet and available to

Defendants online. As such, Defendants had access to the Glitch Copyrighted Works via the

internet.

        53.     Without authorization from Glitch, or any right under the law, certain Defendants 4

have deliberately copied, displayed, distributed, reproduced, and/or made derivative works

incorporating the Glitch Copyrighted Works on e-commerce stores operating under the Seller

Aliases and the corresponding Unauthorized Products. Certain Defendants’ derivative works are

virtually identical to and/or are substantially similar to the look and feel of the Glitch Copyrighted

Works. Such conduct infringes and continues to infringe the Glitch Copyrighted Works in

violation of 17 U.S.C. § 501(a) and 17 U.S.C. §§ 106(1)–(3), (5).

        54.     Certain Defendants reap the benefits of the unauthorized copying and distribution

of the Glitch Copyrighted Works in the form of revenue and other profits that are driven by the

sale of Unauthorized Products.

        55.     Certain Defendants have unlawfully appropriated Glitch’s protectable expression

by taking material of substance and value and creating Unauthorized Products that capture the total

concept and feel of the Glitch Copyrighted Works, including the distinctive characters embodied

therein.

        56.     On information and belief, the certain Defendants’ infringement has been willful,

intentional, purposeful, and in disregard of and with indifference to Glitch’s rights.


4
 Count III applies to all Defendants who infringed the Glitch Copyrighted Works, as outlined in Schedule
A attached hereto.


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       57.      Certain Defendants, by their actions, have damaged Glitch in an amount to be

determined at trial.

       58.      Certain Defendants’ conduct is causing and, unless enjoined and restrained by this

Court, will continue to cause Glitch great and irreparable injury that cannot fully be compensated

or measured in money. Glitch has no adequate remedy at law. Pursuant to 17 U.S.C. § 502, Glitch

is entitled to a preliminary and permanent injunction prohibiting further infringement of the Glitch

Copyrighted Works.

                                     PRAYER FOR RELIEF

WHEREFORE, Glitch prays for judgment against Defendants as follows:

   1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

       confederates, and all persons acting for, with, by, through, under, or in active concert with

       them be temporarily, preliminarily, and permanently enjoined and restrained from:

             a. using the Glitch Trademarks or any reproductions, counterfeit copies or colorable

                imitations thereof in any manner in connection with the distribution, marketing,

                advertising, offering for sale, or sale of any product that is not a Glitch Product or

                is not authorized by Glitch to be sold in connection with the Glitch Trademarks;

             b. reproducing, distributing copies of, making derivative works of, or publicly

                displaying the Glitch Copyrighted Works in any manner without the express

                authorization of Glitch;

             c. passing off, inducing, or enabling others to sell or pass off any products as Glitch

                Products or any other product produced by Glitch, that is not Glitch’s or not

                produced under the authorization, control, or supervision of Glitch and approved

                by Glitch for sale under the Glitch Trademarks and/or Glitch Copyrighted Works;




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       d. committing any acts calculated to cause consumers to believe that Defendants’

            Unauthorized Products are those sold under the authorization, control, or

            supervision of Glitch, or are sponsored by, approved by, or otherwise connected

            with Glitch;

       e. further infringing the Glitch Trademarks and/or Glitch Copyrighted Works and

            damaging Glitch’s goodwill; and

       f. manufacturing, shipping, delivering, holding for sale, transferring, or otherwise

            moving, storing, distributing, returning, or otherwise disposing of, in any manner,

            products or inventory not manufactured by or for Glitch, nor authorized by Glitch

            to be sold or offered for sale, and which bear any of the Glitch Trademarks, or any

            reproductions, counterfeit copies or colorable imitations thereof and/or which bear

            the Glitch Copyrighted Works;

2) Entry of an Order that, upon Glitch’s request, those with notice of the injunction, including

   without limitation, any websites and/or online marketplace platforms like Alibaba,

   Amazon, DHgate, MadeInChina, Temu, and Walmart shall disable and cease displaying

   any advertisements used by or associated with Defendants in connection with the sale of

   counterfeit and infringing goods using the Glitch Trademarks and/or Glitch Copyrighted

   Works;

3) That certain Defendants account for and pay to Glitch all profits realized by those

   Defendants by reason of those Defendants’ unlawful acts herein alleged, and that the

   amount of damages for infringement of the Glitch Trademarks be increased by a sum not

   exceeding three times the amount thereof as provided by 15 U.S.C. § 1117;




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   4) In the alternative, that Glitch be awarded statutory damages for willful trademark

       counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of

       the Glitch Trademarks;

   5) As a direct and proximate result of certain Defendants’ infringement of the Glitch

       Copyrighted Works, Glitch is entitled to damages as well as those Defendants’ profits,

       pursuant to 17 U.S.C. § 504(b);

   6) Alternatively, and at Glitch’s election prior to any final judgment being entered, Glitch is

       entitled to the maximum amount of statutory damages provided by law, $150,000 per work

       infringed pursuant to 17 U.S.C. § 504(c), or for any other such amount as may be proper

       pursuant to 17 U.S.C. § 504(c);

   7) Glitch is further entitled to recover its attorneys’ fees and full costs for bringing this action

       pursuant to 17 U.S.C. § 505 and 15 U.S.C. § 1117(a); and

   8) Award any and all other relief that this Court deems just and proper.



Dated this 9th day of July 2024.              Respectfully submitted,


                                              /s/ Martin F. Trainor
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